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                                                EXHIBIT D

    SUMMARY OF EXPENSES INCURRED BY CARPENTER LIPPS & LELAND LLP
             ON BEHALF OF THE DEBTORS FOR THE PERIOD
                JANUARY 1, 2013 THROUGH APRIL 30, 2013

                     Expense Category                                                    Amount
Federal Express                                                                                   $3,300.02
Mileage                                                                                           $1,217.10
Parking                                                                                           $1,235.15
Train                                                                                               $748.75
Hotel                                                                                            $15,566.47
Food/Beverage                                                                                     $2,003.43
Airfare                                                                                          $38,995.10
Taxi/Car                                                                                          $2,628.38
Court Fees                                                                                          $106.00
Bellman                                                                                              $32.00
WiFi                                                                                                $119.59
Fax                                                                                                  $61.40
Outside Copying                                                                                  $24,987.98
Litigation Support Vendors                                                                     $885,095.161
Conference Room Rental                                                                            $1,275.24
Total                                                                                           $977,371.77




1
 The Litigation Support Vendors category total reflects the Debtors’ request for a reduction of $3,506.08 in
February. The Litigation Support Vendors category includes $797,752.66 in contract document reviewer time for
which a more detailed breakdown is attached.
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                                     Expenses
                            Third Interim     Part 1 Attorney
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                                                               Expenses

Invoice No. Company Amount Billed                                 Breakdown of Charges
   53208    Lumen Legal     $3,506.08                      101.12 hours x $34.00 per hour = $3,506.08
   53208    Robert Half    $70,060.59            2,110.31 hours x $31.10 per hour + $4,429.95 tax = $70,060.59
   53215    Lumen Legal    $27,945.75                      798.45 hours x 35.00 per hour = $27,945.75
   53215    Lumen Legal    $23,587.88    439.72 hours x $35.00 per hour + 227.30 hours x .$38.00 per hour = $23,587.88
   53215    Lumen Legal    $30,787.75                     879.65 hours x $35.00 per hour = $30,787.75
                                           313.91 hours x $38.00 per hour + 668.53 hours x $34.00 per hour + 280.81
            Lumen Legal
   53215                   $44,486.95                         hours x $35.00 per hour = $44,486.95
   53477    Robert Half    $79,564.33            2396.57 hours x $31.10 per hour + $5,031.07 tax = $79,564.33
   53477    Lumen Legal    $23,261.36    374.67 hours x $34.00 per hour + 276.91 hours x $38.00 per hour = $23,261.36
   53477    Lumen Legal    $27,070.36             162.92 hours x $38.00 + 614.10 hours x $34.00 = $20,879.40
   53477    Robert Half    $15,123.62                  455.54 hours x $31.10 + $956.29 tax = $15,123.62
   53477    Lumen Legal     $1,072.36                           28.22 hours x $38.00 = $1,072.36
   53478    Lumen Legal     $6,818.02                      200.53 hours x $34.00 per hour = $6,818.02
   53478    Lumen Legal     $2,873.00                           84.53 hours x $38.00 = $2,873.00
                                           724.43 hours x $34.00 per hour + 384.58 hours x $38.00 per hour + 462.34
            Lumen Legal
   53483                   $55,426.56                         hours x $35.00 per hour = $55,426.56
   53483    Lumen Legal    $21,749.35                     621.41 hours x $35.00 per hour = $21,749.35
   53483     Robert Half   $67,023.73                2,018.83 hours x $31.10 + $4,238.14 tax = $67,023.73
   53483    Lumen Legal    $38,240.76    1,086.08 hours x $34.00 per hour + 34.58 hours x $38.00 per hour = $38,240.76
   53483    Lumen Legal    $39,115.92    947.85 hours x $34.00 per hour + 181.29 hours x $38.00 per hour = $39,115.92
   53483    Lumen Legal    $80,892.00                    2,311.20 hours x $35.00 per hour = $80,892.00
   53483    Lumen Legal    $103,100.20                       2,945.72 hours x $35.00 = $103,100.20
   53483    Lumen Legal    $13,211.08                     347.66 hours x $38.00 per hour = $13,211.08
   53483    Lumen Legal    $13,395.76                     352.52 hours x $38.00 per hour = $13,395.76
   53483    Lumen Legal     $6,025.66                      158.57 hours x $38.00 per hour = $6,025.66
   53936    Lumen Legal     $1,955.48                       51.46 hours x $38.00 per hour = $1,955.48
   53936     Robert Half    $1,458.11              43.92 hours x $31.10 per hour + $1,365.91 tax = $1,458.11
Total Hours: 23,086.23                                          Total Amount Billed: $797,752.66
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